                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

IN THE MATTER OF BULLY 1                             §   CIVIL ACTION NO. 6:22-CV-566
(SWITZERLAND) GMBH, AS                               §
OWNER, AND NOBLE DRILLING                            §   JUDGE ROBERT R. SUMMERHAYS
(U.S.) LLC, AS OWNER PRO HAC                         §
VICE, OF THE GLOBETROTTER II                         §   MAGISTRATE JUDGE CAROL B.
                                                     §   WHITEHURST

     ANSWER, AFFIRMATIVE DEFENSES, AND CLAIM OF SHULER P. ALEXANDER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, SHULER P. ALEXANDER, and files his Answer, Affirmative Defenses,

and Claim in response to the Complaint for Exoneration from or Limitation of Liability filed by

Petitioners, Bully 1 (Switzerland) GmbH (hereinafter referred to as “BULLY 1”), as Owner, and

Noble Drilling (U.S.) LLC (hereinafter referred to as “NOBLE DRILLING”), as Owner Pro Hac

Vice, of the GLOBETROTTER II (collectively referred to as “Petitioners”), and would show the

court the following:

                                              I. ANSWER

     Respondent/Claimant, SHULER P. ALEXANDER, files this Answer to Petitioners’

Complaint for Exoneration from or Limitation of Liability.

     NOW, specifically reserving all defenses asserted herein, including, without limitation,

Claimant’s right to pursue his claim in state court pursuant to the Savings to Suitors clause, 28

U.S.C. §1333, and all state law remedies, Claimant responds to the individual Paragraphs of the

Complaint for Exoneration from or Limitation of Liability, upon information and belief, as

follows:

1.      The allegations contained in Paragraph 1 of Petitioners’ Complaint are denied for lack of

sufficient information to justify a belief herein.

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2.     The allegations contained in Paragraph 2 of Petitioners’ Complaint are denied for lack of

sufficient information to justify a belief herein.

3.     The allegations contained in Paragraph 3 of Petitioners’ Complaint with respect to vessel

ownership are denied for lack of sufficient information to justify a belief herein. The remaining

allegations contained in Paragraph 3 are a request for relief/ conclusions of law to which no

response is necessary from Claimant. However, if a response should be deemed necessary, said

allegations are denied.

4.     The allegations contained in Paragraph 4 of Petitioners’ Complaint are admitted.

5.     The allegations contained in Paragraph 5 of Petitioners’ Complaint are denied.

6.     The allegations contained in Paragraph 6 of Petitioners’ Complaint are denied.

7.     The allegations contained in Paragraph 7 of Petitioners’ Complaint are admitted.

8.     The allegations contained in Paragraph 8 of Petitioners’ Complaint are denied for lack of

sufficient information to justify a belief herein.

9.     The allegations contained in Paragraph 9 of Petitioners’ Complaint are denied.

10.    The allegations contained in Paragraph 10 of Petitioners’ Complaint are denied for lack

of sufficient information to justify a belief herein.

11.    The allegations contained in Paragraph 11 of Petitioners’ Complaint are denied for lack

of sufficient information to justify a belief herein.

12.    The allegations contained in Paragraph 12 of Petitioners’ Complaint are a request for

relief/ conclusions of law to which no response is necessary from Claimant. However, if a

response should be deemed necessary, said allegations are denied.

13.    The allegations contained in Paragraph 13 of Petitioners’ Complaint are denied for lack

of sufficient information to justify a belief herein.


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14.     The allegations contained in Paragraph 14 of Petitioners’ Complaint are denied for lack

of sufficient information to justify a belief herein.

15.     The allegations contained in Paragraph 15 of Petitioners’ Complaint are denied for lack

of sufficient information to justify a belief herein.

16.     The allegations contained in Paragraph 16 of Petitioners’ Complaint are denied.

17.     The allegations contained in Paragraph 17 of Petitioners’ Complaint are a request for

relief/ conclusions of law to which no response is necessary from Claimant. However, if a

response should be deemed necessary, said allegations are denied.

18.     The allegations contained in Paragraph 18 are denied. Furthermore, Respondent/Claimant

alleges the Limitation of Liability Act, 46 U.S.C. § 30501 et seq., is unconstitutional in that it

deprives the Respondent/Claimant of property rights without due process of law in violation of

the Fifth and Fourteenth Amendments to the United States Constitution and does not provide for

equal protection of the laws pursuant to the Fifth and Fourteenth Amendments to the United

States Constitution. Respondent/Claimant further allege the Limitation of Liability Act is not

applicable to the instant case because at all times pertinent herein, the vessel was operated in a

willful, wanton, and reckless manner or, in the alternative, the conduct and actions which lead to

Respondent/Claimant’s injuries took place with the privity and knowledge of the owners,

managing owners, owners pro hac vice, and/or operators of the vessel(s) involved.

                                   II. AFFIRMATIVE DEFENSES

      AND NOW, Respondent/Claimant, SHULER P. ALEXANDER, asserts the following

affirmative defenses:

                                          FIRST DEFENSE




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19.    The Complaint fails to state a claim upon which relief can be granted. FED. R. CIV. P.

12(b)(6).

                                       SECOND DEFENSE

20.    The Limitation of Liability Act, 46 U.S.C. § 30501 et. seq. is unconstitutional in that it

deprives the Respondent/Claimant of property rights without due process of law in violation of the

Fifth and Fourteenth Amendments to the United States Constitution and does not provide for equal

protection of the laws pursuant to the Fifth and Fourteenth Amendments to the United States

Constitution.

                                        THIRD DEFENSE

21.    The Limitation of Liability Act, 46 U.S.C. § 30501, et. seq. is unconstitutional in that it

deprives the Respondent/Claimant of the right to a trial by jury, guaranteed by the Seventh

Amendment to the Constitution of the United States and other applicable laws.

                                       FOURTH DEFENSE

22.    The limitation fund is inadequate, and the Complaint should be dismissed because

Petitioners have failed to deposit adequate security for the vessel identified in the Complaint for

Exoneration from or Limitation of Liability. Pursuant to Rule F(1) of the Supplemental Rules

for Certain Admiralty and Maritime Claims, the proper limitation fund must be deposited at the

time of filing. Petitioners’ deposit, at the time of filing, did not meet federal standards. As such,

this limitation action must be dismissed.

                                        FIFTH DEFENSE

23.    The Limitation of Liability Act is not applicable to the instant case because at all times

pertinent herein, the vessel was operated in a willful, wanton, and reckless manner or, in the

alternative, the conduct and actions which lead to Claimant/Respondent’s injuries took place


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with the privity and knowledge of the owners, managing owners, owners pro hac vice, and/or

operators of the vessels involved.

                                          SIXTH DEFENSE

24.    To    the   extent      Petitioners’   insurers   attempt   to   avail   themselves   of   the

limitation/exoneration defense, Respondent/Claimant asserts that the Limitation of Liability Act

is unavailable to insurers of vessel owners under the circumstances. In the alternative, no prima

facie case has been made establishing any insurer(s) is entitled to avail themselves of the

Limitation of Liability Act.

                                        SEVENTH DEFENSE

25.    The Complaint for Exoneration from or Limitation of Liability contains vague and

ambiguous statements which are objectionable under Federal Rule of Civil Procedure 12(e), and

Respondent/Claimant seeks more definitive statements of the allegations, regardless of the nature,

manner, and extent of his Answer and Claim herein.

                                         EIGHTH DEFENSE

26.    The events culminating in the injuries of Respondent/Claimant were the result of the

negligence, fault, or want of due care on the part of Petitioners and/or those for whom Petitioners

are responsible under common operational control, supervision, and enterprise, all of which was

within the privity and knowledge of Petitioners, for which the Complaint for Exoneration from

of Limitation of Liability should be denied.

                                         NINETH DEFENSE

27.    Respondent/Claimant further alleges that there was insurance coverage on the vessel

insuring Petitioners in the event of an occurrence such as that which is the subject of

Respondent/Claimant’s claims, and the proceeds of said insurance policy should be included in


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this limitation proceeding (in the event the Court determines these limitation proceedings are

appropriate).

                                        TENTH DEFENSE

28.    Respondent/Claimant states that the proceeds of any judgment, award, or settlement

which may be received by Petitioners from any third party in recompense of any losses or

damages sustained herein to the property or interests of Petitioners, as a result of the fault or

alleged fault of said third party, must be included in the limitation fund.

                                      ELEVENTH DEFENSE

29.    In filing this Answer and Claim, Respondent/Claimant specifically reserves all rights to

pursue all available claims in state court for resolution of any and all issues beyond the exclusive

jurisdiction of this Admiralty Court pursuant to the “Savings to Suitors” clause, 28 U.S.C.

§1333, and all state law remedies. The filing of this Answer and Claim is in no way a waiver of

this right and defense, and Respondent/Claimant is not agreeing to join all issues in this

proceeding by filing this Answer and Claim.

                                      TWELVTH DEFENSE

30.    Respondent/Claimant specifically reserves all rights to pursue all available claims in the

forum of his choice for resolution of any and all issues beyond the exclusive jurisdiction of this

admiralty court pursuant to the “Savings to Suitors” clause, 28 U.S.C. §1333, and all remedies,

and no part of this Answer and Claim is a waiver of this defense or these rights.

Respondent/Claimant will move the Court to lift the injunction and stay of proceedings in other

forums. See In re Tetra Applied Tech., L.P., 362 F.3d 388 (5th Cir. 2004). Further, pursuant to

the holdings of In re Liverpool, etc. Nav. Co. (Vestris), 57 F.2d 176, 179 (2d Cir. 1932) and The

Silver Palm, 94 F.2d 776, 780 (9th Cir. 1937), upon Respondent/Claimant’s failure to obtain


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relief in this limitation action (should resolution of this action precede judgment in other

actions), Respondent/Claimant hereby asserts and claims his right to have his claims and damages

tried to a jury in the court of his choosing.

                                     THIRTEENTH DEFENSE

31.     The purpose of a limitation action is to provide a single forum for determining whether

the vessel and its owner are liable at all, whether the owner may in fact limit liability to the value

of the vessel and pending freight, and how the funds are to be distributed to the claimant(s). See

46 U.S.C. § 30501, et seq.; see also THOMAS J. SCHOENBAUM, ADMIRALTY AND

MARITIME LAW 2nd Ed. § 13-5 (1994). Because of the nature and circumstances of this

action, a limitations proceeding is inappropriate and unjustified.

                                     FOURTEENTH DEFENSE

32.     Respondent/Claimant reserves the right to contest the appraisal value of the vessel, the

“GLOBETROTTER II”, its engines, apparel, appurtenances, pending freight, etc., and the

adequacy of the security.

                                     FIFTHTEENTH DEFENSE

33.     The limitation fund is inadequate and should be increased and/or this action should be

dismissed because the limitation fund does not properly account for the value of the other

appurtenances, attachments, freight and/or cargo aboard the vessel, subject to the control of the

vessel, and/or owned by the Petitioners.

                                      SIXTEENTH DEFENSE

34.     The protection and indemnity insurer of the Petitioners is not accorded the right by statute

to invoke limitation of liability.

                                                III. CLAIM


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         AND NOW, specifically reserving all defenses asserted herein, including, without

limitation, Respondent/Claimant’s right to pursue his claims in the forum of his choice pursuant

to the Jones Act, 46 U.S.C. §30104, et seq., and the general maritime law of the United States,

Respondent/Claimant, SHULER P. ALEXANDER, files his Claim in the Complaint for

Exoneration from or Limitation of Liability filed by Petitioners, BULLLY 1, as Owner, and

NOBLE DRILLING, as Owner Pro Hac Vice, of the GLOBETROTTER II, and states as

follows:

35.      Respondent/Claimant re-urges each and every defense and objection set forth above as if

the same were stated herein verbatim.

36.      Respondent/Claimant’s cause of action arises under the Jones Act, 46 U.S.C. § 30104, the

General Maritime Law of the United States, and any other applicable statute.

37.      Respondent/Claimant, SHULER P. ALEXANDER is a resident of Williamson County,

Texas.

38.      At all material times, Petitioners, BULLY 1 and NOBLE DRILLING, were the owner,

owner pro hac vice, and/or operators of the vessel in question, which is referred to as the

GLOBETROTTER II.

39.      At all material times, the GLOBETROTTER II was in navigable waters of the Gulf of

Mexico.

40.      At all material times, SHULER P. ALEXANDER, was a Jones Act seaman who

contributed to, and aided, the GLOBETROTTER II in its mission on navigable waters.

41.      The accident being sued upon occurred on or about August 29, 2021, while SHULER P.

ALEXANDER served as a crewmember aboard the GLOBETROTTER II.




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42.    On the date of incident, Respondent/Claimant, SHULER P. ALEXANDER, sustained

serious and debilitating injuries while working as a seaman for Petitioners. At all material times,

SHULER P. ALEXANDER, was working in service of the Petitioners’ drillship, the

GLOBETROTTER II, and Claimant/Respondent was a member of said vessel’s crew.

43.    In the days leading up to the occurrence on or about August 29, 2021, Petitioners and the

GLOBETROTTER II became aware of the development of Hurricane Ida yet failed to follow

standard hurricane procedures to prepare for the well-known and documented risks of operating

in the Gulf of Mexico during hurricane season. Despite monitoring the approach of Hurricane

Ida, the GLOBETROTTER II, through the actions and omissions of Petitioners, did not maintain

accurate calculations of the time it would take to secure well operations and recover drilling

equipment as required and did not allow sufficient time for the vessel to move out of the

hurricane’s path.

44.    While neighboring vessels and offshore structures executed hurricane preparations to

secure operations and evacuate the area, Petitioners, BULLY 1 and NOBLE DRILLING, chose

to ignore weather forecasts and readiness procedures. The GLOBETROTTER II continued to

operate as normal, risking the lives of over 100 crewmembers onboard. Meanwhile, Hurricane

Ida intensified and continued to track nearer and nearer to the GLOBETROTTER II.

45.    By the time Petitioners finally appreciated and responded to the severity of the situation,

the GLOBETROTTER II began last-minute efforts to relocate the vessel out of harm’s way, but

it was already too late. Foreseeable and expected weather conditions and equipment failures

prevented the GLOBETROTTER II from escaping the wrath of Hurricane Ida. After the

GLOBETROTTER II was eventually able to unlatch, the vessel ended up heading closer into the

center of the storm where it encountered winds and seas of significantly greater intensity.


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46.    The force of the storm caused substantial damage to the vessel, including the destruction

of SOLAS equipment, such as rescue craft and lifeboats. Watertight doors failed, leading to the

flooding of compartments and machinery spaces while heavy equipment broke loose from

brackets and restraints. The vessel’s propulsion systems were overstrained and struggled to keep

the vessel properly oriented into the worst of the seas, causing them to overheat and shutdown.

With the loss of propulsion, the vessel’s heading was knocked off course and the vessel was

caught in the trough of the waves where it was exposed to extreme rolling. Crewmembers were

forced to walk on bulkheads and received a broadside battering from the seas. The shifting of

weights from flooded spaces and loose equipment strewn across the deck, as well as the loss of

propulsion and extreme rolling, compromised the vessel’s stability. In addition, there was a crack

in the hull of the ship, leaking water into the cofferdam, critically reducing the vessel’s reserve

buoyance and survival draft. During this time, the crewmembers of the GLOBETROTTER II

were at the mercy of the storm and unable to address the damage taken by the vessel as they too

were thrown about in the rough seas.

47.    The Petitioners’ actions have caused Respondent/Claimant physical impacts and severe

mental anguish and emotional distress and have further left him unfit-for-duty and unable to

work as a seaman offshore. Respondent/Claimant was in a zone of physical and mental danger –

not by his own volition – and which has left him physically and mentally unable to work

offshore. While onboard the GLOBETROTTER II, Respondent/Claimant faced imminent danger

and feared that he would lose his life and never see his family again.

48.    In addition, and in connection with the events described herein on or about August 29,

2021, Respondent/Claimant sustained severe and debilitating injuries to his lower back and right

shoulder among other parts of his body. At some point during the night, while the


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GLOBETROTTER II heavily rolled about in the rough seas, Respondent/Claimant attempted to

secure a 5-gallon water jug, which had broken loose and was being thrown across the floor.

Respondent/Claimant was able to secure the jug but, in the process, slipped on water leaking

from the jug while the vessel rolled and ended up hitting his lower back against a weather door

and injured his shoulder trying to hold himself up. In addition, Respondent/Claimant continues to

suffer from emotional disturbance, mental distress, and other psychological symptoms, including

anxiety, and sleeping difficulties.

49.    To the extent that Respondent/Claimant had any pre-existing injuries or medical

condition(s) at the time of the occurrence in question, the same was not disabling, and he would

respectfully show that such pre-existing condition, if any, was aggravated by the incident made

the basis of this suit to such an extent that it became disabling, bringing about the necessity of

medical treatment.

                     CAUSE OF ACTION FOR PETITIONERS’ NEGLIGENCE

50.    Respondent/Claimant hereby asserts an action for negligence against Petitioners, BULLY 1

and NOBLE Drilling, under the Jones Act, 46 USC §30104, and/or the General Maritime Law of

the United States.

51.    Respondent/Claimant repeats, re-alleges, and adopts the paragraphs above, as if stated

herein and further alleges as follows:

52.    On or about August 29, 2021, Respondent/Claimant was employed as a crewmember aboard

the GLOBETROTTER II. Petitioner, BULLY 1, was the owner of the GLOBETROTTER II, and

Petitioner, NOBLE DRILLING, was the owner pro hac vice of the GLOBETROTTER II.

53.    Petitioners, BULLY 1 and NOBLE DRILLING, owed duties of care in the operation as

owner and owner pro hac vice of the GLOBETROTTER II. Petitioners further owed a duty of care


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to provide a safe working environment and to act reasonably in the maintenance and operation of

the GLOBETROTTER II.

54.    At the time of the occurrence on or about August 29, 2021, Petitioners, BULLY 1 and/or

NOBLE DRILLING, acting through their respective officers, agents, servants and/or employees,

were careless and negligent in breach of the duties owed to Respondent/Claimant, SHULER P.

ALEXANDER.

55.    Petitioners, BULLY 1 and NOBLE DRILLING, were negligent, negligent per se, grossly

negligent, and/or reckless in the following respects:

           a.   In failing to provide a safe work environment;
           b.   In failing to mitigate against the dangers posed by Hurricane Ida;
           c.   In failing to provide adequate safety equipment and gear;
           d.   In failing to provide adequate safety from Hurricane Ida;
           e.   In failing to timely evacuate the GLOBETROTTER II;
           f.   In failing to properly inspect and maintain the vessel, its equipment and gear, in safe,
                working condition;
           g.   In operating the vessel in an unsafe and improper manner;
           h.   In choosing to commence fishing operations to retrieve down hole equipment
                instead of placing packings, which prevented the vessel from being able to flee to
                safety ahead of the storm;
           i.   In failing to have the vessel moored in a safe area;
           j.   In violating applicable U.S. Coast Guard and/or OSHA rules and regulations;
           k.   In failing to provide prompt and adequate medical attention to
                Respondent/Claimant; and,
           l.   Other acts of negligence as proven at time of trail.

56.    Respondent/Claimant, SHULER P. ALEXANDER, suffered severe injuries to his body, and

his injuries were caused by the negligence of Petitioners, BULLY 1 and NOBLE DRILLING,

and/or their respective agents, servants, or employees. Petitioners are responsible for the negligent

acts and omission of their respective agents, servants, and/or employees.

                        CAUSE OF ACTION FOR UNSEAWORTHINESS

57.    Respondent/Claimant hereby asserts an action for vessel unseaworthiness against

Petitioners, BULLY 1 and NOBLE Drilling, under the General Maritime Law of the United States.

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58.    Respondent/Claimant repeats, re-alleges, and adopts the paragraphs above, as if stated

herein and further alleges as follows:

59.    On or about August 29, 2021, the GLOBETROTTER II was owned, operated, controlled,

and/or manned by Petitioners, BULLY 1 and NOBLE DRILLING.

60.    On or about August 29, 2021, danger conditions existed aboard the GLOBETROTTER II,

and the GLOBETROTTER II was unseaworthy.

61.    At the time of the occurrence, Respondent/Claimant, SHULER P. ALEXANDER, was

within the course and scope of his employment as a crewmember and was performing his normal

duties aboard the GLOBETROTTER II while the vessel was underway in navigable waters.

62.    Pursuant to the General Maritime Law of the United States, Petitioners, BULLY 1 and

NOBLE DRILLING, as owner and owner pro hac vice of the GLOBETROTTER II, owed

Respondent/Claimant, SHULER P. ALEXANDER, an absolute and non-delegable duty to provide

him with a vessel that was seaworthy in all respects.

63.    Petitioners breached said duty to Respondent/Claimant, and the GLOBETROTTER II was

unseaworthy in one or more of the following respects:

           a. The vessel had an incompetent Master, pilot, and/or crew;
           b. The vessel lacked safe policies and procedures for mitigating against the risks of a
              hurricane and for evacuating personnel during adverse weather and sea conditions;
           c. There was a crack in the hull of the vessel, which allowed water into certain
              compartments;
           d. There was a malfunction of some of the equipment on deck used to pull the risers;
           e. The vessel lacked adequate safety equipment and gear to protect the crew; and,
           f. Other unseaworthy conditions as proven at the time of trial.

64.    Prior to the occurrence in question, Petitioners failed to investigate the hazards of the vessel

and/or take necessary steps to eliminate, minimize, or warn Respondent/Claimant of said hazards.

65.    The unseaworthiness of the GLOBETROTTER II occurred within the privity and

knowledge of Petitioners, BULLY 1 and NOBLE DRILLING.

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66.    At all relevant times, Respondent/Claimant, SHULER P. ALEXANDER’s, injuries

occurred as a result of the negligence of Petitioners and the unseaworthiness of the

GLOBETROTTER II, all of which were within the knowledge of Petitioners, BULLY 1 and

NOBLE DRILLING.

67.    Upon the trial of this case, Respondent/Claimant, SHULER P. ALEXANDER, would

show that he sustained injuries as a result of Petitioners’ negligence and/or the unseaworthiness

of the GLOBETROTTER II. Respondent/Claimant, SHULER P. ALEXANDER, has sustained

the following damages for which he seeks, and is entitled to, recovery from Petitioners, BULLY

1 and NOBLE DRILLING:

           a. Reasonable and necessary medical expenses in the past and future;
           b. Physical pain and suffering in the past and future;
           c. Mental anguish in the past and future;
           d. Physical disfigurement and physical impairment in the past and future;
           e. Permanent physical scarring and disability;
           f. Reasonable and necessary maintenance and cure benefits in the past and future;
           g. Loss of earning capacity in the past and future;
           h. Compensatory damages in excess of the amount of Five Million and no/100’s
              (5,000,000.00) dollars; and,
           i. Prejudgment interest.

68.    Respondent/Claimant requests a trial by jury.

                                              IV. PRAYER

       WHEREFORE,          PREMISES       CONSIDERED,         Respondent/Claimant,     SHULER   P.

ALEXANDER, prays that he has the following relief:

           a. That Petitioners, BULLY 1 and NOBLE DRILLING’s, Complaint and Petition for

                Exoneration from or Limitation of Liability be in all things denied;

           b. Actual damages and costs incurred herein;

           c. Pre-Judgment interest at the maximum rate allowed by law;

           d. Post-judgment interest at the maximum rate allowed by law; and

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e. Such other relief to which Respondent/Claimant may be justly entitled.




                          Respectfully submitted,

                          SCHECHTER, SHAFFER & HARRIS, LLP

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                          Counsel for Respondent/Claimant,
                          SHULER P. ALEXANDER




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing is being filed and served upon
all known counsel of record through the Case Management/Electronic Case Filing system for the
United States District Court for the Western District of Louisiana in accordance with the Federal
Rules of Civil Procedure on this the 5th        of April 2022.

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                                          /S/ Laura B. De La Cruz
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